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      Athletic footwear market dominated                                     by Asia-Pacific with 42% share



           Athletic footwear market dominated                        by Asia-Pacific with 42%        share



The athletic footwear market has been forecast to increase at a compound      annual growth rate (CAGR) of 1.75% through to 2016, driven
by the increasing demand for comfortable footwear, and the increasing demand for lightweight athletic shoes.
Having reliable, performance-specific shoes is important for achieving one's fitness goals, and purchasinga new pair is one way people
motivate themselves to work out.


Asia Pacific is leading the athletic footwear market with maximum share and Is expected to enjoya 41.6% share of the market in 2018,
closely followed by Europe. The North American market is growing at a relatively slower rate, due to high labour costs, raw material
costs and strong competition.
Nike has been the undisputed leader in athletic footwear for some time now and Is several times larger than Its nearest competitor.
Despite all of its success, the company Is still managing to grow at a very impressive rate.
Nike is by far the world's largest athletic shoe manufacture, with an estimated market share of about 50%. The company also sells a
wide range of apparel under its own brand, and affiliated brands such as Converse and Hurley.
Nike also faces competition from companies such as Under Armour. Under Armour's footwear sales grew bya CAGR of 37.1% during
2010-2012 to reach around $239 million in 2012.
Nike, Adidas, Puma and Asics are the key players in the global athletic footwear market, while several other players such as New
Balance, Sketchers, Vans, Saucony and K-Swiss as well as various local brands also have a presence in the global footwear market.
One of the main challenges the market currently faces is the increasing availability of counterfeit products in the market. This Is
affecting the revenue as well as the brand name of global vendors.




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